JS 44 (Rev. 10/20) Case 4:21-cv-00033-ALM Document 1-24 Filed
                                           CIVIL COVER        01/14/21 Page 1 of 2 PageID #: 368
                                                           SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                            DEFENDANTS
                                                                                                                          Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny, Daniel Feehan, A.K. Mago, Carlos Munguia, and G. Brint Ryan,
           Timothy Jackson                                                                                                each in their official capacities as members of the Board of Regents for the University of North Texas System; Rachel Gain;
                                                                                                                          Ellen Bakulina; Andrew Chung; Diego Cubero; Steven Friedson; Rebecca Dowd Geoffroy-Schwinden; Benjamin Graf; Frank
                                                                                                                          Heidlberger; Bernardo Illari; Justin Lavacek; Peter Mondelli; Margaret Notley; April L. Prince; Cathy Ragland; Gillian
                                                                                                                          Robertson; Hendrik Schulze; Vivek Virani; and Brian F. Wright
    (b)   County of Residence of First Listed Plaintiff                  Denton                                              County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                             NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                                Attorneys (If Known)
           Jonathan F. Mitchell, Mitchell Law PLLC, 111 Congress Avenue, Suite 400, Austin, TX 78701, (512) 686-3940
           Michael Thad Allen, Allen Law, LLC P.O. Box 404, Quaker Hill, CT 06375 (860) 772-4738



II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                       (For Diversity Cases Only)                                            and One Box for Defendant)
    1   U.S. Government                    ✖ 3    Federal Question                                                                              PTF                DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                                Citizen of This State            1                  1      Incorporated or Principal Place         4     4
                                                                                                                                                                              of Business In This State

    2   U.S. Government                       4   Diversity                                                      Citizen of Another State                  2           2    Incorporated and Principal Place                   5         5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                                             of Business In Another State

                                                                                                                 Citizen or Subject of a                   3           3    Foreign Nation                                     6         6
                                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                      TORTS                                         FORFEITURE/PENALTY                           BANKRUPTCY                             OTHER STATUTES
    110 Insurance                         PERSONAL INJURY                       PERSONAL INJURY                        625 Drug Related Seizure                 422 Appeal 28 USC 158                    375 False Claims Act
    120 Marine                            310 Airplane                         365 Personal Injury -                       of Property 21 USC 881               423 Withdrawal                           376 Qui Tam (31 USC
    130 Miller Act                        315 Airplane Product                     Product Liability                   690 Other                                    28 USC 157                               3729(a))
    140 Negotiable Instrument                  Liability                       367 Health Care/                                                                                                          400 State Reapportionment
    150 Recovery of Overpayment           320 Assault, Libel &                     Pharmaceutical                                                              PROPERTY RIGHTS                           410 Antitrust
        & Enforcement of Judgment              Slander                             Personal Injury                                                              820 Copyrights                           430 Banks and Banking
    151 Medicare Act                      330 Federal Employers’                   Product Liability                                                            830 Patent                               450 Commerce
    152 Recovery of Defaulted                  Liability                       368 Asbestos Personal                                                            835 Patent - Abbreviated                 460 Deportation
         Student Loans                    340 Marine                               Injury Product                                                                   New Drug Application                 470 Racketeer Influenced and
         (Excludes Veterans)              345 Marine Product                       Liability                                                                    840 Trademark                                Corrupt Organizations
    153 Recovery of Overpayment                Liability                      PERSONAL PROPERTY                                 LABOR                           880 Defend Trade Secrets                 480 Consumer Credit
        of Veteran’s Benefits             350 Motor Vehicle                    370 Other Fraud                         710 Fair Labor Standards                     Act of 2016                              (15 USC 1681 or 1692)
    160 Stockholders’ Suits               355 Motor Vehicle                    371 Truth in Lending                        Act                                                                           485 Telephone Consumer
    190 Other Contract                        Product Liability                380 Other Personal                      720 Labor/Management                     SOCIAL SECURITY                              Protection Act
    195 Contract Product Liability        360 Other Personal                       Property Damage                         Relations                            861 HIA (1395ff)                         490 Cable/Sat TV
    196 Franchise                             Injury                           385 Property Damage                     740 Railway Labor Act                    862 Black Lung (923)                     850 Securities/Commodities/
                                          362 Personal Injury -                    Product Liability                   751 Family and Medical                   863 DIWC/DIWW (405(g))                       Exchange
                                              Medical Malpractice                                                          Leave Act                            864 SSID Title XVI                       890 Other Statutory Actions
        REAL PROPERTY                       CIVIL RIGHTS                      PRISONER PETITIONS                       790 Other Labor Litigation               865 RSI (405(g))                         891 Agricultural Acts
    210 Land Condemnation               ✖ 440 Other Civil Rights               Habeas Corpus:                          791 Employee Retirement                                                           893 Environmental Matters
    220 Foreclosure                       441 Voting                           463 Alien Detainee                          Income Security Act                  FEDERAL TAX SUITS                        895 Freedom of Information
    230 Rent Lease & Ejectment            442 Employment                       510 Motions to Vacate                                                            870 Taxes (U.S. Plaintiff                    Act
    240 Torts to Land                     443 Housing/                             Sentence                                                                          or Defendant)                       896 Arbitration
    245 Tort Product Liability                Accommodations                   530 General                                                                      871 IRS—Third Party                      899 Administrative Procedure
    290 All Other Real Property           445 Amer. w/Disabilities -           535 Death Penalty                           IMMIGRATION                               26 USC 7609                             Act/Review or Appeal of
                                              Employment                       Other:                                  462 Naturalization Application                                                        Agency Decision
                                          446 Amer. w/Disabilities -           540 Mandamus & Other                    465 Other Immigration                                                             950 Constitutionality of
                                              Other                            550 Civil Rights                            Actions                                                                           State Statutes
                                          448 Education                        555 Prison Condition
                                                                               560 Civil Detainee -
                                                                                   Conditions of
                                                                                   Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original                 2 Removed from                        3     Remanded from                     4 Reinstated or                5 Transferred from
                                                                                                                                                         6 Multidistrict                                            8 Multidistrict
      Proceeding                 State Court                               Appellate Court                     Reopened                       Another District
                                                                                                                                                             Litigation -                                             Litigation -
                                                                                                                                              (specify)      Transfer                                                 Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              42 U.S.C. § 1983; 28 U.S.C. § 2201
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Lawsuit against state university officials for retaliating against professor in violation of his First Amendment rights, supplemental defamation claims
VII. REQUESTED IN                                   CHECK IF THIS IS A CLASS ACTION                                    DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                                            JURY DEMAND:                       ✖   Yes            No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                                JUDGE                                                                               DOCKET NUMBER
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
January 14, 2021                                                                 /s/ Jonathan F. Mitchell
FOR OFFICE USE ONLY

    RECEIPT #                       AMOUNT                                           APPLYING IFP                                           JUDGE                                     MAG. JUDGE
                Case 4:21-cv-00033-ALM Document 1-24 Filed 01/14/21 Page 2 of 2 PageID #: 369
JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
